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  6                        UNITED STATES DISTRICT COURT
  7                      SOUTHERN DISTRICT OF CALIFORNIA
  8
       UNITED STATES OF AMERICA,                         CASE NOS. 12-CR-236 - IEG
  9
                                      Plaintiff,         ORDER DENYING
 10                                                      ESPUDO’S MOTION TO
             vs.                                         SUPPRESS WIRETAP
 11                                                      EVIDENCE
       RUDY ESPUDO et al.,
 12                                                      [Doc. No. 974.]
                                   Defendants.
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            Before the Court is a motion to suppress wiretap evidence by Defendant Rudy
 15
      Espudo, which argues that the interception of text messages protected by the marital
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      privilege, the production of all text messages, and that case agents acted as monitors
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      establish insufficient minimization. [Doc. No. 974.] For the reasons below, the
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      motion is DENIED.
 19
                                        BACKGROUND
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            This case involves charges of conspiracy, racketeering, illegal drug
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      distribution, extortion, and money laundering in connection with the Mexican Mafia
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      prison gang and several affiliated Sureno street gangs operating in northern San
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      Diego county. Espudo filed the present minimization motion to suppress on March
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      30, 2013. [Doc. No. 974.] The Government responded in its consolidated
 25
      opposition brief filed on April 8, 2013. [Doc. No. 1004.] The Court heard related
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      oral argument from the parties on April 19, 2013, [Doc. No. 1017], and again on
 27
      May 16, 2013, at which hearing Federal Bureau of Investigation Special Agent
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      Mathew Zeman (“Agent Zeman”) testified, [Doc. No. 1061].
  1                                       DISCUSSION
  2         “Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18
  3   U.S.C. §§ 2510–2520, allows law enforcement agencies to conduct electronic
  4   surveillance of suspected criminal activities.” U.S. v. Garcia-Villalba, 585 F.3d
  5   1223, 1227 (9th Cir. 2009). But “[t]his authority is not a blank check.” Id.
  6   Wiretaps “pass constitutional muster” only “if certain conditions [a]re met.” United
  7   States v. Petti, 973 F.2d 1441, 1443 (9th Cir. 1992). “Pursuant to section 2518(5),
  8   the government must conduct wire intercepts so as to ‘minimize the interception of
  9   communications not otherwise subject to interception.’” United States v. Torres, 908
 10   F.2d 1417, 1423 (9th Cir. 1990) (citing 18 U.S.C. § 2518(5)). “The government has
 11   the burden to show proper minimization.” Id.
 12         “Minimization requires that the government adopt reasonable measures to
 13   reduce the interception of conversations unrelated to the criminal activity under
 14   investigation to a practical minimum while permitting the government to pursue
 15   legitimate investigation.” Id. But “because of the necessarily ad hoc nature of any
 16   determination of reasonableness, there can be no inflexible rule of law that will
 17   decide every case.” Id. “Instead, the question whether the government complied
 18   with the statutory requirement to minimize surveillance by wiretap requires
 19   examination of the monitoring officers’ conduct in light of the particular
 20   circumstances of the case.” Id.
 21         Moreover, “[i]n determining whether the agents properly minimized, it is . . .
 22   important to consider the circumstances of the wiretap. For example, when the
 23   investigation is focusing on what is thought to be a widespread conspiracy more
 24   extensive surveillance may be justified in an attempt to determine the precise scope
 25   of the enterprise.” Scott, 436 U.S. at 140. “[I]t may [also] be important to determine
 26   at exactly what point during the authorized period the interception was made.
 27   During the early stages of surveillance the agents may be forced to intercept all calls
 28   to establish categories of nonpertinent calls which will not be intercepted thereafter.”

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      Id. at 141; see also United States v. Quintana, 508 F.2d 867, 874 (9th Cir. 1975)
  1   (“Where the government does not at the outset have reason to believe that any
  2   identifiable group of calls will be innocent, then it may be reasonable to monitor all
  3   calls for some time.”); United States v. Chavez, 533 F.2d 491, 4794 (9th Cir. 1976)
  4   (“it may not be possible to tell whether a particular conversation is innocent until all
  5   of it has been heard . . . it may be necessary to listen to all or substantially all
  6   conversation in order to find out how extensive the conspiracy is, who the
  7   conspirators are, where and when they meet, how they do business, and other
  8   important and often complex details that make up the conspiracy. Thus . . . where it
  9   is believed that an extensive conspiracy is going on, it may be necessary, and it does
 10   not violate the statute, to listen to nearly all calls on the tapped line.”).
 11          By the present motion, Defendant Espudo contends that the interception of
 12   text messages was not sufficiently minimized for three reasons: (1) messages
 13   protected by the marital privilege were intercepted; (2) all text messages were
 14   produced in discovery; and (3) case agents acted as monitors. None warrant
 15   suppression.
 16          1.      Marital Privilege
 17          Espudo points to intercepted text messages protected by the marital privilege
 18   as evidence that the wiretap was not sufficiently minimized. The example text
 19   messages are between Espudo and his wife Angela Chavez and touch on domestic
 20   disputes, infidelity, and contemplated divorce. Espudo’s argument is unpersuasive.
 21          First, it is unclear whether the marital privilege even applies. The Ninth
 22   Circuit “narrowly construe[s] the marital communications privilege because it
 23   obstructs the truth-seeking process.” United States v. Marashi, 913 F.2d 724, 730
 24   (9th Cir. 1990). “Use of the privilege in criminal proceedings requires a particularly
 25   narrow construction because of society’s strong interest in the administration of
 26   justice.” Id. Though some of the referenced communications are between husband
 27   and wife Espudo and Chavez, others are between Chavez and third-parties. These
 28   third-party communications are plainly not privileged. See Marashi, 913 F.2d at

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      730-31 (“the privilege does not extend to statements which are made before, or
  1   likely to be overheard by, third parties.”). Further, “the marital communications
  2   privilege does not apply to statements made in furtherance of joint criminal
  3   activity.” Id. at 731. The particular messages referenced could relate to the alleged
  4   criminal conspiracy. Espudo provides no context for the referenced statements, e.g.,
  5   surrounding texts that may or may not relate to criminal activity. For example,
  6   Espudo cites the following exchange:
  7         9.18.11       Angel to Rudy: “You are a weak coward and I AM CALLING
                          EVERYONE TO TELL THEM INCLUDING [blocked out]
  8                       DON”T COME HERE I CHANGED THE LOCKS.”
  9   [Doc. No. 974 (Espudo’s Motion) at 4.] No context is provided. And, standing
 10   alone, to what the text message refers is entirely unclear.
 11         Second, even if the referenced text messages are in fact privileged, the mere
 12   inclusion of a number of privileged communications does not establish insufficient
 13   minimization. See United States v. Rivera, 527 F.3d 891, 904 (9th Cir. 2008) (“The
 14   minimization techniques used do not need to be optimal, only reasonable.”). “The
 15   statute does not forbid the interception of all nonrelevant conversations, but rather
 16   instructs the agents to conduct the surveillance in such a manner as to “minimize”
 17   the interception of such conversations.” Scott v. United States, 436 U.S. 128, 140
 18   (1978). Espudo has merely identified a handful of conversations that are perhaps
 19   privileged or irrelevant. But he makes no showing in relation to how the
 20   surveillance that intercepted those conversations was conducted, much less whether
 21   or not it was conducted so as to minimize the interception of irrelevant
 22   conversations.
 23         2.     Release of All Text Messages
 24         Espudo also makes a single sentence argument that “[t]he subsequent
 25   unlimited release of all previously minimized-redacted text messages in Discovery 2
 26   is a manifest violation of the interception orders, the Fourth Amendment, and Title
 27   III.” [Doc. No. 974 at 6.] Espudo cites no authority and makes no attempt to
 28   explain why or how the production constitutes a violation of any sort. Moreover, as

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      the Government asserts, [Doc. No. 1004 at 11], Espudo repeatedly joined motions to
  1   compel this very production. [See Doc. Nos. 286, 287 (motion to compel production
  2   of “the actual seized conversations.”).] Thus, Espudo’s argument fails as both
  3   unsupported and contrary to his own prior requests.
  4         3.     Agents Also Intermittently Acting As Monitors
  5         Espudo filed a reply brief the day before the April 19, 2013 hearing raising the
  6   issue of agents acting as monitors in contravention of the minimization instructions
  7   in the wiretap application. [Doc. No. 1014 at 4-5.] The minimization instructions
  8   prescribe that intercepted communications “be reviewed and minimized by
  9   individuals that are not otherwise associated with th[e] investigation.” Espudo
 10   contends that “many of the same agents investigating the case acted as monitors” as
 11   evidenced by entries in the “monitor log” by, inter alia, Agent Zeman who “under
 12   the heading ‘Role,’ wrote, ‘monitor.’” [Doc. No. 1014 at 5.]
 13         It is unclear what, if any, significance these entries have, let alone that they
 14   necessarily reflect a contravention of the minimization instructions. Even if they do
 15   reflect violation of the instructions, their extent remains unclear. But even assuming
 16   the entries do establish, as Espudo contends, that on at least several occasions agents
 17   failed to completely adhere to the minimization instructions, that showing alone does
 18   not warrant suppression on minimization grounds. “Minimization as a process is not
 19   subject to the rigid standards appropriate where the process is one of elimination.”
 20   United States v. Turner, 528 F.2d 143, 156 (9th Cir. 1975). “The statute does not
 21   require that all conversations unrelated to the criminal activity specified in the order
 22   be free from interception.” Id. “Rather it requires that measures be adopted to
 23   reduce the extent of such interception to a practical minimum while allowing the
 24   legitimate aims of the Government to be pursued.” Id. Accordingly, suppression is
 25   unwarranted even where “adequate minimization ha[s] been undertaken in a good
 26   faith, if not completely successful, effort to limit interception.” United States v.
 27   Santora, 600 F.2d 1317, 1320 (9th Cir. 1979).
 28         Here, Espudo appears to concede the adequacy of the minimization

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      instructions themselves, and does not contend that the instructions were completely
  1   or even consistently disregarded in bad faith. Instead, Espudo merely points to
  2   several instances in which agents may have been acting as minimization monitors.
  3   At most, these instances suggest a somewhat imperfect execution of an adequate
  4   minimization protocol, which does not warrant suppression. See Rivera, 527 F.3d at
  5   904 (“minimization . . . need [not] be optimal, only reasonable.”); Santora, 600 F.2d
  6   at 1320 (suppression unwarranted where “adequate minimization ha[s] been
  7   undertaken [even] if not completely successful”).
  8                                     CONCLUSION
  9         For the foregoing reasons, the Court hereby DENIES Espudo’s motion to
 10   suppress.
 11         IT IS SO ORDERED.
 12   DATED: May 22, 2013                     ______________________________
 13                                           IRMA E. GONZALEZ
                                              United States District Judge
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